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                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION
                                www.flsb.uscourts.gov


In re:
                                                                      Case No.: 21-10421-RAM
                                                                                    Chapter 13
MARINA KOROLYOVA,

      Debtor.
_________________________________/



                 MOTION TO COMPEL DEBTOR TO FILE A
     MODIFIED PLAN, OR IN THE ALTERNATIVE, MOTION TO DISMISS CASE

         Secured Creditor, SN SERVICING CORPORATION AS SERVICER FOR U.S.

BANK TRUST NATIONAL ASSOCIATION, AS TRUSTEE OF THE DWELLING

SERIES IV TRUST, (“Secured Creditor”), by and through its undersigned attorney, hereby files

this Motion to Compel Debtor to file a Modified Chapter 13 Plan or in the Alternative, Motion to

Dismiss Case. In support of its Motion, Secured Creditor states as follows:

         1.    On January 18, 2021 (the “Petition Date”), the Debtor Marina Korolyova (the

Debtor”) filed its voluntary Petition under Chapter 13 of the United States Bankruptcy Code

[D.E. 1].

         2.   On March 11, 2021, the Debtor filed an Ex-Parte Verified Motion for Referral to

Mortgage Modification Mediation [D.E. 31] with Secured Creditor.

         3.   On March 12, 2021, this Court entered the Order Granting Verified Ex-Parte

Motion for Referral to Mortgage Modification Mediation [D.E. 35] (the “MMM Order”).
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       4.      On March 17, 2021, Secured Creditor timely filed its secured proof of claim

(Claim # 3-1) (the “Claim”) which reflected a secured claim in the amount of $1,227,353.21,

with arrearage amount of $668,630.46, and on-going mortgage payments of $8,451.80.

       5.      On February 3, 2022, the Debtor filed its Twelfth Amended Chapter 13 Plan

[D.E. 152] (the “Plan”) which included a MMM Adequate Protection payment of $3,534.33.

       6.      On February 10, 2022, this Court entered the Order Confirming Twelfth

Amended Plan [D.E. 158].

       7.      On July 22, 2022, the Mediator Stacy Bressler filed a Final Report of Loss

Mitigation/Mortgage Modification Mediator [D.E 173] (the “Final Report”) indicating that the

parties did not reach an agreement.

       8.      Pursuant to the Plan, “[I]f the lender and the debtor fail to reach a settlement,

then no later than 14 calendar days after the mediator’s Final Report is filed, the debtor will

amend or modify the plan to (a) conform to the lender’s Proof of Claim (if the lender has filed a

Proof of Claim), without limiting the Debtor’s right to object to the claim or proceed with a

motion to value; or (b) provide that the real property will be “treated outside the plan. If the

property is “treated outside the plan,” the lender will be entitled to in rem stay relief to pursue

available state court remedies against the property. Notwithstanding the foregoing, lender may

file a motion to confirm that the automatic

       9.      More than 14 calendar days have lapsed since the completion of the mortgage

modification mediation and the filing of the Final Report. However, to date, the Debtor has not

filed a motion to modify plan nor a modified plan that conforms to the Claim or provides for the

surrender of the Property or for treatment outside of the Plan.




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       10.     Secured Creditor further asserts that the Property is diminishing and decreasing in

value will continue to do so by virtue of the continued use of the Property and given the current

market history in the area in which the Property is located.

       11.     Secured Creditor has expended additional attorney’s fees associated with the

filing of this instant Motion and seeks recovery of same.

       12.     Pursuant to 11 U.S.C § 1307(c)(1) and 11 U.S.C § 1307(c)(6), on request of a

party in interest, the court may dismiss a case for cause including unreasonable delay by the

Debtor that is prejudicial to creditors or a material default by the Debtor with respect to a term of

a confirmed plan. The Debtor’s failure to modify the plan within the 14 days required by the

confirmed plan is a material default caused by unreasonable delay that is extremely prejudicial to

Secured Creditor. In light of the unsuccessful mediation and the large arrearage balance on the

Claim, it is very unlikely that the Debtor will propose a confirmable plan that addresses Secured

Creditor’s claim.    Therefore, the unreasonable delay by the Debtor in modifying the plan

prejudices Secured Creditor as Secured Creditor has been stayed from exercising its state court

rights since January 2021.

       13.     Secured Creditor seeks entry of an order directing Debtor to (i) file a modified

plan that either conforms to Secured Creditor’s Claim and supplemental claims or denotes that

the subject property is to be “treated outside the Plan” or that the subject property is to be

surrendered to Secured Creditor within seven (7) days and if the Debtor fails to do so, this Case

will be dismissed, (ii) to pay Secured Creditor reasonable attorney’s fee associated with the

prosecution of this Motion, and (iii) allows Secured Creditor to pursue its in rem remedies in

state court against the subject property.




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       WHEREFORE, Secured Creditor, prays that this Court grant the Motion to Compel

Debtor to File a Modified Chapter 13 Plan or in the Alternative, Motion to Dismiss Case,

awarding attorney’s fees for the prosecution of this Motion, and granting any further relief that

this Court deems just and proper.



Dated this 11th day of August, 2022.

                                                     Respectfully submitted,

                                                     GHIDOTTI ǀ BERGER, LLP
                                                     Attorneys for Secured Creditor
                                                     1031 N Miami Beach Blvd,
                                                     N Miami Beach, Florida 33162
                                                     Telephone: (305) 501.2808
                                                     Facsimile: (954) 780.5578

                                                     By:    /s/ Melbalynn Fisher
                                                            Melbalynn Fisher, Esq.
                                                            Florida Bar No. 107698
                                                            mfisher@ghidottiberger.com




               CERTIFICATE PURSUANT TO LOCAL RULE 9011-4 (B)(1)

       I certify that I am admitted to the Bar of the United States District Court for the Southern

District of Florida and I am in compliance with the additional qualifications to practice in this

court as set forth in Local Rule 2090-1(A).


                                              By:    /s/ Melbalynn Fisher
                                                         Melbalynn Fisher, Esq.

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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 11, 2022, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF.

       I also certify that the foregoing document is being served this day, either via transmission

of Notice of Electronic Filing generated by CM/ECF or by first class U.S. Mail, upon:


Debtor                                             Debtor’s Counsel
Marina Korolyova                                   Michael A. Frank, Esq.
16645 SW 87 Ct                                     Law Offices of Frank & De La Guardia
Miami, FL 33157                                    2000 Northwest 89th Place
                                                   Suite 201
                                                   Doral, FL 33172

U.S. Trustee                                       Trustee
Office of the US Trustee                           Nancy K. Neidich
51 S.W. 1st Avenue - Suite 1204                    POB 279806
Miami, FL 33130                                    Miramar, FL 33027




                                             By:     /s/ Melbalynn Fisher
                                                         Melbalynn Fisher, Esq.




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